                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WISCONSIN
                                GREEN BAY DIVISION


RIDGEWAY TRAILER SERVICE, INC.,

              Plaintiff,                              Case No. 20-CV-1470
      v.

BMF CAPITAL LLC,

ABC INSURANCE COMPANY,

      -and-

JOHN DOE,

              Defendants.


                PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT


      NOW COMES Plaintiff, Ridgeway Trailer Service, Inc., by and through its

attorneys, and hereby moves the Clerk for Entry of Default against the Defendant,

BMF Capital, LLC, pursuant to Fed. R. Civ. P. 55(a). Plaintiff also hereby moves

the Clerk for Entry of Default Judgment against this same Defendant pursuant to

Fed. R. Civ. P. 55(b)(1) because Plaintiff’s claim against BMF Capital, LLC is for a

sum certain. As shown further below, Default Judgment should be entered against

BMF Capital, LLC in the amount of $300,000.00.

      In support of his motion, Plaintiff provides the following further grounds:

      1.      As indicated by the affidavit of non-service on file, the process server

attempted to serve the summons and complaint on Defendant and after three

attempts, he was unable to do so. (Declaration of David H. Weber, ¶2, Docket No. 3.)


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      2.      After the failed attempts of service of the summons and complaint on

the Defendant, the process server served the Summons and Complaint in this action

on the Secretary of State for the state of New York. (Declaration of David H. Weber,

¶3, Docket No. 4.) This is allowed pursuant to WIS. STAT. § 801.11(5)(c), and New

York Law Sections 301-A, 303, and 304 governing its State Law for Limited

Liability Companies.

      3.      The time for answering or otherwise joining issue has expired.

      4.      BMF Capital, LLC has failed to answer and the Plaintiff

is entitled to Entry of Default by the Clerk pursuant to Fed. R. Civ. P. 55(a).

      5.      Plaintiff also moves the Clerk for Entry of Default Judgment against

BMF Capital, LLC pursuant to Fed. R. Civ. P. 55(b)(1) because Plaintiff’s claim

against BMF Capital, LLC is for a sum certain. The amount of monetary damages is

$75,000.00. (Docket #1, ¶27.) In addition, Plaintiff seeks multiple damages under

Wisconsin’s civil theft statute. (Id., ¶26.) Pursuant to WIS. STAT. § 895.446(3)(c)

provides for exemplary damages of not more than three times the stolen amount. In

this instance, that amount would be $225,000.00. The combined Judgment should

therefore be $300,000.00.

      This motion is further supported by the Declaration of David H. Weber filed

herewith.




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Dated this 1st day of December, 2020.


                   By:_s/ David H. Weber_________________________
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RIDGEWAY TRAILER SERVICE, INC.,

                 Plaintiff,                               Case No. 20-CV-1470
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BMF CAPITAL LLC,

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      -and-

JOHN DOE,

                 Defendants.


                                 CERTIFICATE OF SERVICE


      I hereby certify that on December 1, 2020, a true and correct copy of the

foregoing document was served via U.S. Mail on Defendant, BMF Capital, LLC, at

1820 Avenue M, Suite 125, Brooklyn, NY 11230.

      Dated this 1st day of December 2020.

                                      By:_s/ David H. Weber_________________________
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